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 Thisrequestison behalfofM arkGrenon and hissons.You already know wherethey areand
 w hy so Iw on'tgo furtheron that. W hatis being done to them isw rong.Thisis nothow
 Am erica issupposed to work.There isa force atplay to shutdow n any early treatm entof
 Covid-lgand thisiswhythey are wheretheyare.You playa primaryrole intheirrelease or
  you playa primary role in the ageqdathatisbeing played outnotjustin Am erica butaround
  the w orld. Ournation did not becom e greatbecause people played along. Itbecam e great
  because brave people stood up and fought back. W e gained ourindependence from the British
  in thisw ay and w e have been Ieading the w orld eversince. Please release them all.They have
  done no wrong. Thankyou foryourtim e.

 Sincerely,
  GregSeid
 Virginia Beach,Virginia
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